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                   EXHIBIT 5
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SCA SCHEDULE OF COMMISSIONS & FEES (1)
 Account Opening Fees
     Individual/Joint Account(Domestic)           $250
     Corporate (Domestic)                         $450
     Foreign                                      $500
                                                                     Each subaccount will be subject to review and approval and the FFI will Incur a fee of $1,000 per
      FFI (Foreign Financial Institution)         $1,000
                                                                     subaccount
                                                                     New accounts must be funded upon opening with a minimum of $2,000. Account funding can be
      Returned Check Fee                          $75
                                                                     made by check or wire. Checks must be made out to our clearing firm, Alpine Securities.
Security Deposit Processing, Transfers & Services
     Deposit Review Fee                         $895                 Fee applies to the review of any deposit regardless of how shares are delivered.
                                                                     Subsequent deposit of shares derived from a new conversion of convertible debt previously
     Follow on Conversions                        $400
                                                                     approved for the customer
                                                                     Additional charge for deposits that derive from convertible debt requiring tacking to a third party's
     Third Party Debt                             $100
                                                                     holding period.
     Request for Additional Documentation         $100               Per request
     Rejected Deposit Fee                         $300
     DTC Transfer (Outgoing) greater of           $1,000             Or 4.5% CDC Fee. See below.(2)
     Rush DTC Transfer (Outgoing) greater of      $2,000             Or 4.5% CDC Fee. See below.(2)
     DTC Eligible Received                        $195
     Non-DTC Eligible Received                    $350
     DWA/DRS Receipt                              $95 + cost
     Receipt Via ACAT Transfer                    $95
     Free Delivery (Incoming)                     $95
     Transfer & Ship Delivery (Certificate-Out)   $1,000             Per security position plus Pass-Through fees. See below.(3)
     Journal Transfers(LOA)                       $195               Per side (sending account and receiving account).See below.(4)
     Form 144 Affiliate & Control Securities      $300               Per Form 144 Submitted to SCA, including amendments.
     Rush Review Fee (at clearing)                $250               Clearing firm's expedited review upon receipt from SCA. Does not affect SCR's review period.
     Legend Removal Fee                           250 + T/A charge
     Delivery Order                               $100 + costs

     SDA Fee                                      4.5% of ACAT
                                                                     Applies to ACATS/DTC transfers of cleared securities. Refer to Security Deposit Agreement for details
     Withdrawal by Transfer (from clearing)       $250
     Held in Safekeeping (at clearing)            $150               Annually in Advance (no prorate If ordered out during calendar year)

Commission Rates
    Base Equity Commission                        4.50%              Greater of comm. rate or Min. Ticket. Additional conditions apply. See below.(5)
    Minimum Ticket (Equities and Bonds)           $150               Minimum charge is greater of $150 per trade or $0.09 per share.
Trading Fees
     Miscellaneous Ticket Fee(P&H)                $45                Per ticket. Amount may vary, contact your broker for further Information.
     Block Trading Fees                           0.0005             Per Share. Applies to trades of 100,000 shares or more. See below.(6)
     Discount Commissions                                            Discount commissions are negotiable. Contact your broker for further information.(7)
     Bond Redemption                              $50                Per item.
     Trading Activity Fee                         .000119/ share or $5.95
     Physical Delivery(Non-DTC)                   $100 + costs

Money Movement
    Domestic Check/Wire Request                   $75
    Foreign Check/Wire Request                    $550
    Check/Wire Trace                              $100
    Canceled Check/Rejected Wire                  $100
    Overnight Delivery                            $35,$75,$50        Domestic, International, Saturday (respectively)
Account Administration and Other
    Annual Account Maintenance                    $100               Per account per year may be charged.
    Account Inactivity Fee                        $250               Per account with no trading activity for 12 months.
    Physical Statement or Confirm                 $5                 Per cycle
    Electronic Statement or Confirm               $2                 Per cycle
    Account Closure Fee                           $20
    Account Transfer Out(ACAT)                    $100               Plus any Pass-Through fees: Alpine currently charges $75.
    Request for additional documentation          $50                Greater of $50 or $100/hour.
    Transfer on Death                             $500
    Blue Sheet Request                            $150               Per request for each symbol and affected account.
    Regulatory Requests, Subpoenas                $150               Per request. Requests requiring additional research or review billed at $150 - $395 per hour.
    Garnishments/Attachments                      $5,000             Per account
    Tenders                                       $50                Per position.
Accounts and IRAs
    IRA Set Up                                    $50
    IRA Annual Fees                               $50
    IRA Account Closing                           $150




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 Non-OTC Securities

         The Depository Trust Company (DTC) provides clearing, settlement and information services for securities that meet the eligibility requirements for automated
         electronic processing. Certain low-priced securities that are not DTC-eligible, or have had their eligibility revoked (hereafter "Non-DTC Securities"), are processed
         manually and require physical delivery to the market makers and other contra parties Involved. (8) As a result, settlement of Non-DTC Security positions may
         involve significant delays and Pass-Through charges for our clearing firms, including execution fees, DTC fees, deposit fees, New York window fees, and transfer
         agent fees, (9) Due to the length of time associated with the actual settlement and clearance of Non-DTC Securities, and to protect against write-offs for unpaid
         settlement pass-through fees, sale proceeds from Non-DTC Securities are subject to a hold period up to 30 days.(10) Please contact SCA if you have any questions
         regarding this process.

        The pass-through fees and handling associated with Non-DTC Securities can be substantial, and may significantly exceed the value of the trade. (11) It is the
        customer's responsibility to investigate the DTC eligibility status of a security before selling it. If you are not sure whether your security is DTC eligible, you should
        contact the Issuer directly or ask an SCA Sales Representative for assistance prior to delivering the security for clearance and processing.

        Further, Sales of Non-DTC Securities may result in short positions because the securities may not be in a deliverable status under the settlement requirements
        applicable to such transactions. In any such case, the selling customer may be subject to a "Buy-In" transaction to cover the sold securities. These Buy-Ins may
        create substantial losses for the seller.


 FOOTNOTES:

[1]     The fees herein are subject to change at any time for any reason. Other fees not listed above may apply to your account. Contact your broker for additional information. All
        accounts agree to indemnify and hold harmless SCA, its Officers, Directors, Affiliates and Associated Persons from any losses and costs incurred as a result of any activity or
        transaction in the account. Any cost or fees incurred by SCA resulting from any activity in the account will be charged to, and are the sole responsibility of, the account
        holder.
        "Pass-Through" fees may apply to any transactions and can vary. Pass-Through fees can be substantial, may change without notice and be passed on to you even if not
        specified in this Fee Schedule. Pass-Through fees include, without limitation, fees charged by DTC, NSCC, CNS, clearing firms, transfer agents, freight carriers, etc. They may
        also include special charges for any fund amounts required to clear transactions or calls related to selling or handling your securities. Any SCA moneys used to cover Pass-
        Through charges associated with the clearance, transfer, trading or handling of your account or securities in any manner are billed at the greater of the cost of funds plus 25%
        or 18% per annum in addition. Clearing low priced stocks or trading large blocks of stock is expensive and SCA does not always know the cost or related Pass-Through fees;
        therefore we require $1,300 per certificate with certificate(s) delivered. Certificates mailed to SCA without $1,300 per certificate will be mailed back to address of record.

[2] All security deposits (physical certificate or DWAC) are subject to contingent deferred charge of 4.5% of the total value ("CDC Fee") in the event securities are not sold
    through SCA. CDC Fee not applicable only if client requests cert-out (physical certificate or reverse DWAC to transfer agent). All Transfer & Ship fees apply in this case. See
    'Stock Transfers'for further information. Certificate-Out fees apply for deposits not accepted by SCA compliance.
[3] If certificate has cleared legal transfer through DTC, then additional third party costs from DTC, clearing firm, and transfer agent may apply. These additional Pass-Through
    costs can range between $600 and $2,500 per security. If the certificate has not cleared legal transfer, the clearing firms may still charge processing and shipping fees.

[4] LOA is a letter of authorization to move securities from one account to another, or some other type of special instructions to move assets.
[5] Commission charged will be the greater of the commission rate or minimum ticket fee. All trades subject to large block, miscellaneous ticket fees, exchange fees (NYSE,
    ARCA, etc.), ECN fees and regulatory fees (FINRA, SEC, etc.), as applicable. For purchases, account must have cleared funds to cover purchase amount. When selling, stock
    position must be registered in DTC and cleared for trading in the account.
[6] Block orders (100,000 shares or more) subject to block fees of $.0005 per share (capped at 1.5% of the principal) in addition to all commissions, trading fees, ECN fees,
    miscellaneous fees and regulatory fees. Shares less than $.15 cents per share subject to an additional $.00001 per share per execution. Block fees at Alpine Clearing may be a
    flat 1.5% on principal,
[7]     Discounts may be available for certain accounts, including active traders using online or special handling; institutional and money managers, and frequent penny stock
        depositors. Online/active trading discounts not applicable for OTC securities (i.e., stocks not listed on an exchange or NASDAQ). SCA reserves the right to cancel these
        discounts due to market conditions or business changes. Broker assisted trades are excluded.
[8]     In many cases, orders for Non-DTC Securities require executions with multiple contra-parties, which result in settlement fees for each separate transaction; SCA does not
        know the contra-parties and the associated settlement fees may occur well after sale date.
[9]  SCA does not mark up any of these fees before they are passed through to customers. Moreover, these pass-through charges may not be Immediately charged to a customer
     account following a trade in Non-DTC securities, as our clearing firm may receive notice of such fees several weeks following the trade. Customers can access and view the
     clearing and settlement fees using their Alpine login and accessing the activity or monthly account statement screens.
[10] SCA reserves the right to withhold funds In a customer account pending full settlement and assessment of fees for the underlying transaction.
[11] Customers who trade Non-DTC Securities are responsible for all applicable charges, even if incurred after the 30-day hold period expires.




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